~ Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 1 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

AT KANSAS CITY
BRECEK & YOUNG ADVISORS, INC., }
Plaintiff,
v. ) Case No. 2:09-cev-02516JAR-GLR
LLOYDS OF LONDON
SYNDICATE 2003, )
Defendant.

DEFENDANT’S SUPPLEMENTAL PROPOSED FINDINGS OF FACT
AND CONCLUSIONS OF LAW

COMES NOW defendant Lloyds of London Syndicate 2003 (“Lloyds”), by and through
the undersigned counsel, pursuant to Fed. R. Civ. Pro. 52(a)(1) and D. Kan. Rule 52.1(a), and
respectfully submits the following supplemental proposed findings of fact and conclusions of law:

Proposed Findings of Fact
1 In consideration of premiums paid, Lloyds issued to Brecek & Young Advisors,
Inc. (‘BYA”) a claims-made “Broker/Dealer and Registered Representatives Professional
Liability Policy” effective December 1, 2006 through December 1, 2007 (the “Lloyds Policy”).
The Policy had limits of $2 million “Each Claim” and in the aggregate, with a $50,000 “Each
Claim” Retention for Broker/Dealer insureds. (See Doc. 152, pages 8-9; see also Exhibit 1.)

2. Immediately preceding the Lloyds Policy, Fireman’s Fund issued to BYA a claims-
made “Securities Broker/Dealers Errors and Omissions Liability” policy, effective December 1,
2005 to December 1, 2006 (‘FFIC Policy”). The FFIC Policy had limits of $2 million “Each
Claim,” and $10 million in the aggregate for Broker/Dealer insureds. (See Doc. 152, page 9; see

also Exhibit 27.)

{0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 2 of 18

3. On September 22, 2005, Michael Knotts commenced a lawsuit in the Court of
Common Pleas for Summit County, Ohio, styled Michael P. Knotts v. B & G Financial Network,
Inc., et al. On December 19, 2006, the NASD notified BYA that it had been named as a respondent
in an arbitration proceeding brought by Knotts. (See Doc. 152, page 9; see also Exhibit 13.)

4, The Knotts Claim alleged that certain individual respondents had fraudulently
induced Knotts to retire early, churned his investment accounts and failed to properly advise him
about issues impacting his financial portfolio. Fireman’s Fund applied a $50,000 “Each Claim”
deductible to the Knotts Claim, which was satisfied by BYA. Fireman’s Fund agreed to defend
and indemnify BYA in the Knotts Claim, ultimately paying $41,137 for defense and indemnity in
excess of the $50,000 deductible. (See Doc. 152, page 9; see also Exhibit 13.)

5. Lloyds was aware of the Knotts Claim no later than March 14, 2007, because BYA
had also notified Lloyds of the Knotts Claim, and Lancer denied coverage for that claim by letter
dated March 14, 2007. (See Doc. 152, page 9; see also Exhibit 94.)

6, Jeffrey Jamieson of the law firm Blackwell Sanders, L.L.P., defended and
ultimately settled the Knotts claim on behalf of BYA. (See Doc. 152, page 10; see.also Exhibit
58.)

7. On June 13, 2006, attorneys for Pauline and Donald Colaner notified BYA of their
intent to bring a NASD arbitration proceeding against it and several individual respondents. (See
Doc. 152, pages 9-10; see also Exhibit 14.)

8. The Colaner claimants alleged that BYA was liable for negligently failing to
supervise the individual respondents, who provided unsuitable investment advice and made
fraudulent misrepresentations regarding investments. Fireman’s Fund applied a $50,000 “Each

Claim” deductible to the Colaner Arbitration, which was satisfied by BYA. Fireman’s Fund

10179330. DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 3 of 18

agreed to defend and indemnify BYA in the Colaner Claim, ultimately paying $593,447 for
defense and indemnity in excess of the $50,000 deductible. (See Doc. 152, page 10; see also
Exhibit 14.)

9. Lloyds was aware of the Colaner Arbitration no later than October 29, 2007,
because Lancer referenced the Colaner Arbitration in its letter to BYA dated October 29, 2007.
(See Doc. 152, page 10; see also Exhibit 4.)

10. Mr. Jamieson also defended and ultimately settled the Colaner claim on behalf of
BYA. (See Doc. 152, page 10; see also Exhibit 14.)

11. In May 2007, Paul and Marie Wahl served BYA with a Statement of Claim filed
with the NASD. The complaint alleged that the Wahl claimants were sold unsuitable investment
products, their accounts were “churned” to generate fees and BYA was liable for its failure to
supervise certain individual respondents. (See Doc. 152, page 10; seé also Exhibit 85.)

12. | BYA timely provided notice to Lioyds of the Wahl Arbitration and by letter dated
August 9, 2007, Lancer stated that Lloyds agreed to defend subject to reservation of rights. (See
Doc. 152, page 10; see also Exhibit 2.)

13. BYA specifically requested Lloyds to assign the defense of the Wah! claim to Mr.
Jamieson, since he was already representing BYA in the Knotts and Colaner claims and was
familiar with BYA’s business practices. Ultimately, Lloyds approved the request and assigned
Mr. Jamieson to defend Wahl on behaif of BYA. (See Transcript of the Testimony of Natalie G.
Haag, page 41, line 5 through page 43, line 23.)

14, On June 22, 2007, Leia Farmer, chief compliance officer for BYA, sent a cover
letter to Lancer Claims attaching the Wahl claim (including the statement of claim and various

arbitration papers) and stating, “I would like to submit a claim under the firm’s Error and Omission

(0179330. DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 4 of 18

Coverage policy number #8-17 ME 07318221.” This policy number corresponded with the FFIC
policy. Ms. Farmer testified that this is the manner in which she tendered claims on behalf of BYA
to its insurance carriers. (See Transcript of the Testimony of Leia A. Farmer, page 57, lines 2
through 20; and page 66, line 22 through page 67, line 8; see also Exhibit 22.)

15. In 2007, Lancer Claims Services and CalSurance were wholly owned subsidiaries
of Brown & Brown of California, Inc. Lancer Claims served as the adjusting arm of the business,
while CalSurance served as the brokerage or selling arm of the insurance business. Lancer and
Calsurance were in the same office building. (See Transcript of the Testimony of Frank Regan,
page 32, line 7 through page 33, line 11.)

16. In 2007, Lancer was adjusting claims for both Fireman’s Fund and Lloyds. Fifty-
percent of the claims Lancer adjusted were on behalf of Fireman’s Fund, while only 10% were on
behalf of Lloyds. (See Transcript of the Testimony of Frank Regan, page 74, lines 10 through 15.)

17. Frank Regan, a former adjuster for Lancer Claims, testified that he began
simultaneously adjusting the Wahl claim in middle 2007 under both the Lloyds Policy and the
FFIC Policy. (See Transcript of the Testimony of Frank Regan, page 47, line 17 through page 48,
line 12.)

18. By letter dated October 29, 2007, Lancer notified BYA that the Wahl Arbitration
had been tendered to Fireman’s Fund to determine whether or not it was interrelated to the Colaner
Arbitration. (See Doc. 152, page 11; see alse Exhibit 4.)

19, Additionally, in or about the fall of 2007, Lancer Claims, on behalf of Lloyds,
retained Andrew L. Margulis of the law firm Ropers, Majeski, Kohn, Bentley, P.C., to provide a
legal analysis and opinion on whether the Wahl claim was interrelated to the earlier Knotts and

Colaner claims. Mr. Margulis ultimately concluded that Wahl was not interrelated to these earlier

{0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 5 of 18

claims and did not arise out of Interrelated Wrongful Acts. (See Exhibit 68: see also Transcript of
the Testimony of Frank Regan, page 109, line 6 through page 110, line 7.)

20. By e-mail sent November 20, 2007, Cynthia Dilly of Lancer Claims, writing on
behalf of FFIC, informed Steve Knowles at Calsurance that coverage counsel for both Lloyds and
Fireman’s Fund had determined that the Colaner Arbitration was not interrelated with the Wahl
Arbitration. That same date, Mr. Knowles forwarded Ms. Dilly’s e-mail to Ms. Farmer at BYA.
(See Doc. 152, page 11; see also Exhibit 31.)

21. Farmer testified that, based upon the notification from Lloyds that independent
coverage counsel for both Lloyds and Fireman’s Fund deemed the Wahl Arbitration unrelated to
the Colaner Arbitration, BYA understood the Wahl Arbitration would be covered under the Lloyds
Policy and took no further action to pursue coverage under the FFIC Policy. (See Doc. 152, page
11.)

22. By a letter from Cynthia L. Dilly of Lancer Claims, dated November 26, 2007,
Fireman’s Fund denied coverage for the Wahl Arbitration based on its determination “that the
recently filed claims are not covered by the expired policy.” The letter states that “a suggestion
has been made that because some of the allegations made in the recently filed [Wahl] arbitration
are similar to claims made against the insured in a prior arbitration filed by ... Colaner . . . the
Company should treat the claims as if they were covered under the expired policy.” Fireman’s
Fund further stated that “there is apparently other valid and collectible insurance.” However,
Fireman’s Fund never stated that Wahl was not interrelated to Knotts. (See Doc. 152, page 11; see
also Exhibit 49.)

23. Farmer testified that BYA was not surprised by Fireman’s Fund’s denial of

coverage because it was consistent with the earlier correspondence from Lloyds that both coverage

£0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 6 of 18

counsel for Fireman’s Fund and Lloyds had determined that the Wahl Arbitration was not related
to the earlier Colaner Claim and would be handled by Lloyds. (See Doc. 152, pages 11-12.)

24, Farmer further testified that if the November 26, 2007 letter had relayed that the
Wahl and Colaner Claims were interrelated, she would have “reached out” to Fireman’s Fund to
secure coverage, and admitted that she could not recall BYA tendering the Wahl Arbitration to
Fireman’s Fund (even though her June 22, 2007 letter suggests otherwise). (See Doc. 152, page
12.)

25. BYA took no additional steps to challenge or dispute FFIC’s denial of coverage of
the Wahl claim. Natalie G. Haag, former assistant general counsel at BYA’s parent company,
Security Benefit Corporation, testified that neither she nor Ms, Farmer ever challenged Fireman’s
Fund’s coverage determination in Wahl even though they could have done so. (See Transcript of
the Testimony of Natalie G. Haag, page 54, line 9 through page 55, line 22.)

26, On November 26, 2007, Mr. Margulis wrote to Mr. Regan at Lancer Claims
concerning his coverage opinion in Wahl. In addition to informing Regan that, in his opinion, “the
Wahl, Colaner and Knotts matters do not arise out of Interrelated Wrongful Acts and cannot be
deemed a single Claim under the policies preceding the [Lloyds] Policy,” Margulis also opined
that the Wahl claimants were “entirely unrelated except for the fact that they have retained the
same attorney to bring their claims.” As such, Margulis concluded that the claims asserted in Wahl
should be subject to separate $50,000 retentions and he recommended that Lancer, on behalf of
Lloyds, advise BYA of this position. (See Transcript of the Testimony of Frank Regan, page 111,
line 19 through page 117, line 14; see also Exhibit 68.)

27. By letter dated December 12, 2007, Lancer supplemented its previous coverage

letter dated August 9, 2007, and notified BYA that it considered each of the twenty-six individual

{0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 7 of 18

Wahl claimants to be distinct from the others and therefore subject to separate $50,000 “Each
Claim” retentions. (See Doc. 152, page 12; see also Exhibit 5.)

28. As set forth in the December 12, 2007 letter, Lancer acknowledged the “Interrelated
Wrongful Acts” provision in the Lloyds policy, stating that it would “consider all claims based
upon or arising out of the same Wrongful Act or Interrelated Wrongful Act as one claim.” Lancer
took the position, however, that “this is not a situation in which the claimants were given advice
as a group, or one where every claimant was sold the identical investment product,” and
accordingly, “the [Wahl] claimants are entirely unrelated except for the fact that they have retained
the same attorney to bring their claims.” (See Doc, 152, page 12: see alse Exhibit 3.)

29. Lancer noted that the same rationale was being raised in a Motion to Sever Claims
pending in the Wahl Arbitration, and thus “the claims presented cannot be deemed a single Claim
under the policy,” and that each claim would be considered a separate claim subject to a separate
$50,000 retention, whether or not the Motion to Sever was granted or denied. (See Doc. 152, pages
12-13; see also Exhibit 5.)

30. By letter dated October 20, 2008, BYA disagreed with Lloyds’ analysis of coverage
under the Policy regarding the Wahl Arbitration and, specifically, Lloyds’ construction of the term
“Interrelated Wrongful Acts” as applied to the claims asserted against BYA in the Wahl
Arbitration. BYA took the position that the matter involved a continuous time period with one act
of BYA at issue, specifically, whether BYA adequately supervised its representatives. (See Doc.
152, page 13; see also Exhibit 6.)

31. Haag, who authored the October 20, 2008 correspondence on behalf of BYA,
testified that, by that time, BYA was rejecting Lloyds’ coverage position concerning the number

of applicable retentions under the Lloyds Policy for Wahl. She also testified that the logic she

(0179330. DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page8of18

applied in her October 20, 2008 correspondence to find that the Wahl claims were interrelated
could also apply to the Knotis and Colaner claims. (See Transcript of the Testimony of Natalie G.
Haag, page 63, line 10 through page 65, line 4; and page 74, lines 3 through 8.)

32. On December 17, 2008, Margulis wrote to Haag, responding to her October 20,
2008 correspondence. He reiterated Lloyds’ position that.each of the Wahl claimants had made a
separate claim and were therefore subject to separate retentions. Thereafter, on January 21, 2009,
Michael Abrams, writing on behalf of BYA, responded to Margulis’ December 17"
correspondence and rejected the notion that Wahl] involved “unrelated multiple claims;” rather,
Abrams asserted that the claims in Wahl were “interrelated” and “subject to a single retention.”
On February 3, 2009, Margulis responded by letter to Abrams and reiterated his position that Wahl
involved unrelated claims subject to separate retentions. (See Transcript of the Testimony of
Natalie G. Haag, page 74, line 20 through page 77, line 15; see also Exhibits 74 through 76.)

33, On or about March 3, 2009, BYA, through its counsel, Mr. Jamieson, entered into
a Mutual Release and Settlement Agreement with the claimants in the Wahl Arbitration. BYA’s
portion of the settlement was $669,092.21, paid on March 27, 2009. BYA paid an additional
$312,767.38 for fees and expenses related to the defense of the Wahl Arbitration. (See Doc. 152,
page 13.) |

34. — Lloyds prorated the defense costs (attributing defense equally to each of the twenty-
six claims in the Wahl Arbitration), and then paid only indemnity for each claim that exceeded the
$50,000 “Each Claim” retention, for a total payment by Lloyds of $384,657.79 for defense and
indemnity. (See Doc. 152, page 13.)

35. The total paid in defense and indemnity for the Wahl Arbitration was

$1,366,517.38. After deducting the $384,657.79 paid by Lloyds, and one $50,000 “Each Claim”

£0179330.DOCX}
~ Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 9 of 18

Retention from the total incurred amount of $1,366,517.38, the net unreimbursed amount paid by
BYA for defense and settlement of the Wahl Arbitration is $931,859.59. (See Doc. 152, pages 13-
14.)

36. BYA sent a letter dated November 2, 2011, to Fireman’s Fund proposing that the
parties enter into a tolling agreement so that BYA could pursue coverage for the Wahl Claim under
the Fireman’s Fund policy in case coverage was not available under the Lloyds policy. (See Doc.
152, page 14; see also Exhibits 27 and 100.)

37. Both the Knotts and Colaner claims arose during the FFIC Policy period and were
covered by Fireman’s Fund, and Fireman’s Fund imposed a $50,000 “Each Claim” deductible for
each of the Colaner and Knotts claims. BYA satisfied the $50,000 “Each Claim” deductible
imposed by Fireman’s Fund for both the Colaner and Knotts claims, paying a total of $100,000 in
deductibles for both claims. (See Doc. 152, pages 14-15.)

38. After payment of defense and indemnity for the Knotts and Colaner claims in
excess of the “Each Claim” deductible, there would have been at least $1,365,416 of the $2 million
“Each Claim” limits available under the FFIC Policy to pay defense and indemnity for the Wahl
Arbitration. (See Doc. 152, page 15.)

| 39. BYA has no issue with the manner in which Mr. Jamieson defended the Knotts,
Colaner, and Wahl claims. (See Doc. 165, page 5.)

40. BYA does not contend that Lloyds’ representations caused it to instruct Mr.
Jamieson to alter his defense strategies with regard to the Wahl claim. (See Doc. 165, page 5.)

4, Gerald C. Haake, an insurance broker expert retained by Lloyds, testified that it
was unusual that CalSurance-Lancer Claims handled questions regarding coverage for Wahl both

as to the FFIC Policy and the Lloyds’ Policy. He also testified that CalSurance did not act as a

{0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 10 of 18

reasonable broker should have acted toward its insured, BYA, to the extent that it did not advise
BYA to further pursue coverage of Wahl with FFIC. (See Transcript of the Testimony of Gerald
C. Haake, page 78, line 19 through page 79, line 6; see also Exhibit 78.)

42. Lloyds took no action that changed or affected Mr, Jamieson’s defense of the Wahl
Arbitration. Rather, Mr. Jamieson defended Wahl just as he had defended Colaner and Knotts.
(See Doc. 165, page 5.)

43. At the trial of the above-captioned case on February 25, 2015, Natalie Haag testified
that it would have been more economically advantageous for BYA to pursue insurance coverage
of the Wahl Arbitration with FFIC, as opposed to Lloyds, because the $50,000 deductible under
the FFIC Policy had already been met.

44, — Ms. Haag also testified at trial that, in the second half of 2008, she performed her
own independent legal analysis of the claims in the Wahl Arbitration and concluded that they were
not interrelated with one another. She testified that she “thought about” whether Wahl might be
interrelated with Knotts and Colander but ultimately concluded that it was not interrelated to the
earlier claims. Ms. Haag testified that her evaluation of whether the 26 Wahl claimants were
interrelated involved the same type of legal analysis as her evaluation of whether Wahl was
interrelated to Knotts and Colaner.

45. Ms. Haag testified at trial that, had BYA further pursued FFIC for coverage of the
Wahl Arbitration in 2007, she does not know whether BYA would have actually been successful
in getting coverage under the FFIC Policy.

Proposed Conclusions of Law
1. New York law applies to the resolution of the substantive issues in this case. (See

Doc. 79, page 2, section 3(d).)

10
{0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 11 of 18

2. On August 9, 2013, the Tenth Circuit issued its mandate reversing this Court’s entry
of summary judgment in favor of BYA, and remanded for further proceedings. (Brecek & Young
Advisors, Inc. v. Lloyds of London Syndicate 2003, 715 F.3d 1231, 1243 (10% Cir. 2013).)

3. The Tenth Circuit held that the Wahl, Knotts and Colaner claims were all related,
as “[s]everal common facts connect the Wahl, Knotts, and Colaner Arbitrations.” Under the terms
of both the Lloyds and Fireman’s Fund policies, if the Knotts, Colaner and Wahl Claims are .
interrelated, they are to be treated as a single claim deemed to have arisen at the time of the first
such claim. (See id. at 1238-39; see also Doc. 152, page 14.)

4, “Because, applying the plain language of the [Lloyds] Policy, the Wahl, Knotts,
and Colaner Arbitrations were connected by common facts, circumstances, decisions, and
policies,” the claims asserted in the Wahl Arbitration arose from wrongful acts interrelated to the
wrongful acts committed outside, and before, the Lloyds policy period. As such, there is no
coverage for Wahl under the Lloyds Policy. (Brecek & Young Advisors, Inc., 715 F.3d at 1239.)

5. The doctrine of equitable estoppel will apply under New York law where an insurer,
“though in fact not obligated to provide coverage, without asserting policy defenses or reserving
the privilege to do so, undertakes the defense of the case, in reliance on which the insured suffers
the detriment of losing the right to control its own defense.” In such circumstances, “though
coverage as such does not exist, the msurer will not be heard to say so.” See Albert J. Schiff
Assoces., Inc. v. Flack, 51 N.Y.2d 692, 699 (N.Y. 1980).

6. Estoppel “cannot be used to create coverage where none exists.” (See Federated
Dep’t Stores, Inc, y. Twin City Fire Ins., 28 A.D.3d 32, 38-39 (N.Y. App. Div. 2006); see also
Hartford, 81 A.D.2d at 578 (“[a]n estoppel will lie only if the insured has been prejudiced by the

insurer’s actions”).)

il
{0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 12 of 18

7. A key element of common-law estoppel “is a showing by the insured of prejudice,
or detrimental reliance.” Further, “[w]here an insurer ultimately disclaims coverage and does so
on a different ground than it initially identified to an insured, a reservation of rights as to other
grounds precludes estoppel.” (See Tudor Ins. Co. v. First Advantage Litigation Consulting, LLC,
2012 U.S. Dist. LEXIS 120178, at *38-9 (S.D.N.Y. August 21, 2012).)

8. “The purposed of a reservation of rights is to prevent an insured’s detrimental
reliance on the defense provided by the insurer. The reservation is a sufficient preventative to
reliance even if the insurer later disclaims on a basis different from the ground originally
asserted in the reservation of rights.” (See Federated, 28 A.D.3d at 37-8 (emphasis added).)

9. Under New York substantive law, (1) estoppel “will lie only if the insured has
demonstrated prejudice by the insurer’s actions;” and (2) “[p]rejudice is established only where
the insurer’s control of the defense is such that the character and strategy of the lawsuit can no
longer be altered.” Logically, this means that, had the insured as opposed to the insurer been in
control of the defense, the character and strategy of defending the lawsuit would have been altered
and a different outcome reached. In other words, there can be no prejudice under New York law
absent a showing by the insured that it would have handled the “character and strategy” of the
defense differently than the insurer. (See Federated, 28 A.D.3d at 39 (emphasis added).)

10. Under New York law, prejudice or detrimental reliance alone is insufficient to
recover damages from an insurer; reliance must also be “reasonable.” (See Hartford Accident &
indemnity Co. v. Regent Nursing Home, 67 A.D.2d 935, 413 N.Y.S.2d 195 (1979) (despite finding
detrimental reliance by insured, insured’s reliance was “misplaced” and unreasonable).)

11. The party seeking to invoke the doctrine of equitable estoppel has the burden of

proof on the issue of prejudice (or detrimental reliance). Here, to estop Lloyds from disclaiming

12
{0179330.DOCX}
‘Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15" Page 13 of 18

coverage of Wahl, BYA must affirmatively prove detrimental reliance or prejudice as a result of
Lloyds’ actions. (See Doc. 152, page 23.)

12. The Tenth Circuit held that “the district court erred in concluding the defense of
equitable estoppel was unavailable to BYA,” and that BYA had made a sufficient showing of
prejudice “as to Lloyds’ attempt to recoup the approximately $385,000 it [had] already paid”
because “at the time BYA settled the Wahl Arbitration Lloyds had expressly promised to provide
coverage up to that amount.” Under this holding, Lloyds is therefore estopped from disclaiming
coverage of the Wahl Arbitration, but only as to the approximately $385,000 it already paid.
(Brecek & Young Advisors, Inc., 715 F.3d at 1243.)

13. The Tenth Circuit did not hold that Lloyds is estopped from raising the relation-
back defense. (See Doc. 152, page 21.)

14. The Tenth Circuit held that “it does not necessarily follow that BYA is entitled to
recover the same damages awarded by the district court on the (erroneous) basis that the Wahl
claims did not relate back to the Knotts and Colaner claims.” (Brecek & Young Advisors, Inc., 715
F.3d at 1243.)

15. The Tenth Circuit further held that, “[i]n determining whether BYA is entitled to
any additional recovery [beyond the approximately $385,000 already paid by Lloyds], however,
the district court must consider the extent to which BYA detrimentally relied on Lloyds’
representations, if at all.” It also held that the Court “must consider whether Lloyds’ erroneous
representation that the twenty-six Wahl claims were not interrelated under the Policy negates any
additional claim of detrimental reliance on the part of BYA.” (Brecek & Young Advisors, Inc.,

715 F.3d at 1243.)

13
{0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 14 of 18

16. This Court has concluded that “the mandate must be read narrowly, and within the
context of the New York law cited by the Court in its opinion.” (See Doc. 152, page 21 (emphasis
added).)

17. Thus, on remand, there are only two narrow issues: (1) whether BYA detrimentally
relied — and thereby suffered additional damages beyond the $385,000 already paid by Lloyds -
on Lloyds’ coverage counsel’s opinion in November 2007 that the Wahi Arbitration was not
interrelated with the Colaner claim; and (2) whether, at the time of settlement of the Wahl
Arbitration, Lloyds’ representation in December 2007 that the Wahl claimants were separate and
distinct negates any additional detrimental reliance on the part of BYA. (See Doc. 152, pages 20-
22.)

18, However, in order for the Court to reach the second issue (negation of damages),
BYA must satisfy the first issue by affirmatively proving that it reasonably and detrimentally relied
to its prejudice on Lloyds’ coverage counsel’s November 2007 opinion, such that it is entitled to
additional damages (i.e., those previously awarded by the district court). If BYA cannot meet its
burden of proof in this regard, then Lloyds is not equitably estopped from disclaiming coverage of
the Wahl Arbitration beyond the approximately $385,000 already paid and BYA is entitled to no
further damages. (See Doc. 152, page 20-22.)

19, For the following reasons, based upon the authorities cited above, the Court
concludes that the evidence produced by BYA fails to satisfy BYA’s burden of proof on its claim
for additional damages, and as such, Lloyds is not estopped from disclaiming coverage of the Wahl

Arbitration above and beyond the approximately $385,000 already paid by it to BYA:

14
£0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 15 of 18

a. Lloyds did not control the defense of the Wahl claim, but rather the defense
was directed by plaintiff's in-house counsel, Natalie Haag, and by its insurance adjuster,
Lancer Claims Services.

b. Even assuming, arguendo, that Lloyds controlled the defense of the Wahl
claim, plaintiff suffered no damage from the manner in which the Wahl claim was
defended. BYA has admitted that it “has no issue with the manner in which Jamieson
defended the Wahl, Colaner or Knotts claims.” Nor does BYA “contend that Lloyds’
representations caused it to instruct Jamieson to alter his defense strategies with regard to
Wahl.”

c. Plaintiff tendered the defense of the Wahi claim to its insurer, Fireman’s
Fund Insurance Company on June 22, 2007. Fireman’s Fund, however, never undertook
any defense or indemnity of the Wahl claim. Plaintiff did not object to Fireman’s Fund’s
position and took no steps to challenge that position. Nothing Lloyds did prevented
plaintiff from seeking all of its rights under its Fireman’s Fund policy.

d. Defendant made no misrepresentations to plaintiff regarding the Wahi claim
or the interrelatedness of the Wahi claim to the Colaner and Knotts claims. Lancer retained
independent counsel, Andrew Margulis, who rendered his opinion that the claims were not
related. That this opinion has now been found by the Tenth Circuit to be incorrect does
not mean that Mr. Margulis | made a misrepresentation. Even if this were a
misrepresentation, it was not made by defendant, but rather by independent counsel.

e. The Wahi claim was a “related claim” under Section V, paragraph G of the

Fireman’s Fund policy issued to BYA. The Wahi claim was properly tendered to Fireman’s

15
{0179330 DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 16 of 18

Fund by sending it to Lancer Claims Services, Inc., as provided by condition IAI of the
policy.

f. Plaintiff is a sophisticated company with its own in-house lawyers. Plaintiff
also had experience with claims against its securities dealers and had a course of dealing
with its broker, CalSurance, and with its insurance adjuster, Lancer Claims Services, both
of which are subsidiaries of the same company, Brown & Brown of California, Inc.
Nothing defendant did prevented plaintiff from working with its broker and adjuster in
pursuing its rights under its Fireman’s Fund policy.

g. Based on the opinion of the Tenth Circuit, coverage was potentially
available to plaintiff under its Fireman’s Fund policy, since the Wahi claim was interrelated
to the Colaner and Knotts claims.

h, CalSurance/Lancer should have advised plaintiff to pursue its rights under
the Fireman’s Fund policy. That this did not occur is not the responsibility of defendant.

i. Fireman’s Fund also provided BYA with an opinion, and with a coverage
denial, stating that the Wahi claim was not related to the Colaner and Knotts claims.
Therefore, plaintiff was receiving the same information from its adjuster, from Fireman’s
Fund’s outside counsel, and from defendant’s outside counsel. Plaintiff cannot now claim
that it was relying on one of these statements to its prejudice, but was not relying on the
other two. This Court cannot find reasonable detrimental reliance on the part of BYA.

j. At trial, Natalie Haag testified (1) that she did her own independent legal
analysis in coming to the conclusion that the Wahl claimants were interrelated to one
another but yet not interrelated to Knotts and Colander; and (2) that it would have been

more economically advantageous for BYA to pursue coverage of the Wahl Arbitration

16
{0179330.DOCX}
~ Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 17 of 18

under the FFIC Policy since the $50,000 retention under this policy had already been met.
Based upon Ms. Haag’s testimony, any purported detrimental reliance on the part of BYA
was simply not reasonable and Lloyds is therefore not liable.

k. Ms. Haag testified at trial that, had BYA further pursued FFIC for coverage
of the Wahl Arbitration in 2007, she does not know whether BYA would have actually
been successful in getting coverage under the FFIC Policy. In fact, BYA adduced no
evidence establishing that the Wahl Arbitration would have been covered under the FFIC
Policy had BYA taken further steps to pursue coverage with FFIC. Thus, even assuming
arguendo that BYA reasonably relied on Lancer’s representations about Lloyds’ coverage
of the Wahl Arbitration, it cannot, as a matter of law, be said that BYA relied to its
detriment. The core of BY A’s detrimental reliance argument is that it would have pursued
and received coverage for Wahl from FFIC had Lancer or Lloyds more timely informed it
of the relation-back defense. But, based upon the evidence before this Court, it is
speculation at best to say that FFIC would have covered Wahl and it is just as likely that
FFIC would have persisted with the position outlined in its November 26, 2007 letter and
continued to deny coverage of Wahl. On this basis, BYA’s claim for detrimental reliance
fails.

20. Because BYA has failed to prove any reasonable detrimental reliance on its claim
for additional damages, this Court need not reach the issue of negation, the second issue on remand.
WHEREFORE, in summary, this Court finds that no coverage exists under the Lloyds
Policy for BYA as to the Wahl claim, that BYA has failed to prove any reasonable detrimental
reliance on its claim for additional damages beyond the approximately $385,000 already paid by

Lloyds, and that BYA is thus not entitled to any such additional damages.

17
{0179330.DOCX}
Case 2:09-cv-02516-JAR Document 215 Filed 03/02/15 Page 18 of 18

Respectfully submitted:

NORRIS & KEPLINGER, LLC

/8/Christopher J_ Lucas #20160

Bruce Keplinger, bk@nkfirm.com #09562
Christopher Lucas, cjl@nkfirm.com, #20160

9225 Indian Creek Parkway

Corporate Woods, Building 32, Suite 750

Overland Park, Kansas 66210

913.663 .2000/Fax: 913.663.2006

ATTORNEYS FOR DEFENDANT LLOYDS OF
LONDON SYNDICATE 2003

 

CERTIFICATE OF SERVICE

I certify that on this 2"! day of March, 2015, the foregoing was filed using the CM/ECF
system, which sent notice of electronic filing to the following:

Michael J. Abrams

Kimberly Kk. Winter

Lathrop & Gage, LLP-KC

2345 Grand Boulevard, Suite 2200
Kansas City, Missouri 64108-2684

(816) 292-2000/(816) 292-2001 FAX

mabrams(@lathropgage.com

 

kwinter@lathropeave.com

 

ATTORNEYS FOR PLAINTIFF BRECEK &

YOUNG ADVISORS, INC.

{0179330.DOCX}

/s/Christopher J. Lucas
Attorneys for Lloyds of London Syndicate 2003

 

18
